               So Ordered.

Dated: March 11th, 2022
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11                            UNITED STATES BANKRUPTCY COURT
12
                           FOR THE EASTERN DISTRICT OF WASHINGTON
      In Re:                                                   Chapter 11
13

      EASTERDAY RANCHES, INC., et al.,                         Lead Case No. 21-00141-WLKH-11
                                                                                               _
14
                                                               (Jointly Administered)
15                                    Debtor(s)
                                                             STIPULATED ORDER GRANTING
16                                                           AGREED MOTION TO TERMINATE
17
                                                             AUTOMATIC STAY AS TO MIDLAND
                                                             STATES BANK
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               On consideration of the Motion of Midland States Bank through its account servicer Orion
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       First Financial LLC (“Midland”) for relief from the automatic stay pursuant to 11 U.S.C. § 362,
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22
       and upon the below agreement of the parties, it is

23              ORDERED that the motion [ECF No. 1430] is granted. Midland is hereby granted relief

24     from the automatic stay imposed by 11 U.S.C. § 362 and is authorized to proceed to enforce
25
       its rights with respect to its collateral (5 2020 Trinity Eagle Bridge belt trailers: VIN nos.
26     1T9SC5346LB656024, 1T9SC5348LB656025, 1T9SC534XLB656026, 1T9SC5342LB656022
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 1    and 1T9SC5341KB656107), including but not limited to taking possession, marketing,
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      selling the collateral, and applying the proceeds to the amount due on the notes.
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           IT IS FURTHER ORDERED that Midland shall not have any deficiency claim against
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      Debtors or Debtors’ estate.
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 6         IT IS FURTHER ORDERED that notwithstanding any provision in Debtors’ proposed

 7    Chapter 11 Plan to the contrary, this Order survives confirmation and supersedes any plan
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      provision applicable to the Property.
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           IT IS FURTHER ORDERED that that the 14-day stay pursuant to F.R.B.P. 4001(a)(3) is
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11    waived and Midland may immediately implement and enforce this order.

12                                            /// End of Order ///
13    Submitted by:
14

15    /s/Kelly D. Sutherland
      Kelly D. Sutherland, WSBA # 21889
16
      Attorneys for Orion First Financial LLC as account servicer for Midland States Bank
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22

23    Consented by:

24

25
      _/s/ Thomas A. Buford________________________
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      * Change made by court


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